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 1                       IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE DISTRICT OF PUERTO RICO

 3
 4    UNITED STATES OF AMERICA,

 5    Plaintiff
 6
      v.                                              CRIMINAL 09-0096 (DRD)
 7
      [3] GABRIEL FRANKI-IRIZARRY, et
 8    al.,
 9
      Defendants
10
11
                  MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
12
13          This matter is before the court on defendant Gabriel Franki-Irizarry’s Motion
14
     to Dismiss and/or Suppress Evidence filed on April 20, 2009. (Docket No. 52.)
15
     The United States filed a response on June 12, 2009. (Docket No. 86.) For the
16
17   reasons set forth below, it is recommended that defendant’s motion be DENIED.

18   I.     Factual and Procedural Background
19
            The following facts are derived from the complaint and accompanying
20
     affidavit signed by Immigration and Customs Enforcement (“ICE”) Special Agent
21
22   Francisco J. Gregory (the “complaint affidavit”), (Docket Nos. 3; 3-2), the affidavit

23   submitted by Special Agent Gregory pursuant to an Application for a Search
24
     Warrant, (Docket No. 52-2), the defendant’s motion, (Docket No. 52), and the
25
     government’s response. (Docket No. 86.) In January 2009, Drug Enforcement
26
27   Administration (“DEA”) agents assigned to the Carribean Corridor Strike Force

28   (“CCSF”) learned from a source of information (“SOI”) that a sea vessel named
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 3
     the Black Sea would be utilized at some point to smuggle narcotics into Puerto
 4
     Rico. (Docket No. 52-2, at 3, ¶ 4.) The Black Sea is a Viking brand 54 foot yacht
 5
 6   owned by MDS Caribbean Seas, Ltd. and registered in the British Virgin Islands.

 7   Around 10:30 p.m. on February 24, 2009, Customs and Border Protection (“CBP”)
 8
     Air Interdiction Agents observed a sea vessel heading east of the south coast of
 9
     Puerto Rico, “outside U.S. territorial waters.” (Id. at 4, ¶ 7.) The parties agreed
10
11   that the boat was traveling through rough seas, and according to the government,

12   “the vessel was traveling at high speeds.”    (Docket No. 86, at 2, ¶ 3.) A CBP
13
     Marine Unit was directed towards the vicinity of the vessel, and it ultimately made
14
     visual contact with the Black Sea as it entered the Palmas del Mar Marina in
15
16   Humacao, Puerto Rico.

17         CBP Marine Interdiction Agents (“MIA”) stopped the Black Sea at a pier
18
     within the Marina at approximately 2:00 a.m. on February 25, 2009. (Docket No.
19
     52-2, at 4, ¶ 7.)   The agents identified and interviewed four men on board,
20
21   defendants Walter Andujar-Aponte, Moisés Cardona-Pérez, Antonio Rodríguez-

22   Sorrienti, and Gabriel Franki-Irizarry. There is no indication that any of the four
23   men were placed under arrest at this time, nor is there any indication that they
24
     were read their rights under Miranda v. Arizona, 384 U.S. 436 (1966). Andujar-
25
     Aponte identified himself as the vessel’s captain. (Id.) According to both the
26
27   complaint affidavit and the warrant affidavit, Andujar-Aponte stated that the men

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     had been fishing approximately twenty-five miles off the coast of Puerto Rico.
 4
     (Docket No. 3-2, at 1, ¶ 5; Docket No. 52-2, at 4, ¶ 7.) This is consistent with the
 5
 6   warrant affidavit’s averment that the vessel was initially observed “outside U.S.

 7   territorial waters.”1   (Docket No. 52-2, at 4, ¶ 7.)
 8
           One crew member said that the vessel had departed from La Parguera,
 9
     Puerto Rico, while another said it had departed from Ponce, Puerto Rico.
10
11   According to the government, Andujar-Aponte initially stated the crew had come

12   from La Parguera, but later stated they originated in Cabo Rojo, Puerto Rico.
13
     (Docket No. 86, at 2, ¶ 4.) In light of these discrepancies, the CBP officers opted
14
     to conduct a sweep of the boat with a K-9 named Hugo. (Docket No. 3-2, at 2,
15
16   ¶ 5; Docket No. 52, at 6, ¶ 1.) According to U.S. CBP division of the Department

17   of Homeland Security, Hugo is “reliable in the detection of substances” including
18
     cocaine. (Docket No. 86-3.) The CBP division states that “[i]t is recommended
19
     that [teams including Hugo] be routinely used in all work environments.” (Id.)
20
21   Upon inspecting the vessel, Hugo “had a positive hit in the master bedroom deck.”

22   (Docket No. 3-2, at 2, ¶ 5; Docket No. 52, at 6, ¶ 1.) The CBP Contraband
23   Enforcement Team thus proceeded to conduct a search of the vessel, but had
24
     found no contraband by the time the agents concluded the search in the morning
25
26
           1
27          Per Presidential proclamation, the United States territorial waters extend
     twenty-four miles beyond the shore. Proc. No. 7219, 64 Fed. Reg. 48,701 (Aug.
28   2, 1999); United States v. de León, 270 F.3d 90, 91 (1st Cir. 2001).
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 3
     hours of February 25, 2009. The government states that the crew members were
 4
     free to leave at this point, and defendants do not contend otherwise. (Docket No.
 5
 6   86, at 3, ¶ 4.)

 7         On February 26, 2009, a group of agents from ICE, CCSF, and CBP returned
 8
     to the Black Sea. The government contends that only two of the four defendants
 9
     were present at that time: Andujar-Aponte and Cardona-Pérez. (Docket No. 86,
10
11   at 3-4; Docket No. 3-2, at 2, ¶ 6.) The government states that Franki-Irizarry

12   was “not present when [the] agents returned on February 26, 2009 or in the next
13
     several days as the search continued.” (Docket No. 86, at 9, ¶ 3.) Defendant
14
     does not contend otherwise. In all events, CBP officers informed the crew that the
15
16   proper border entry requirements had not been completed for the vessel, and the

17   agents proceeded to begin searching the boat again. In the master bedroom of
18
     the cabin agents found ten brand new black duffle bags, several packages of
19
     Ziploc brand bags, one package of vacuum sealer bags, and several plastic bottles
20
21   of odor wipes. (Docket No. 52-2, at 4, ¶ 8.) The affidavit states that these items

22   were “consistent with recent seizures made on pleasure vessels used to smuggle
23   narcotics.” (Id. at 4-5, ¶ 8.) No narcotics were found on this day, however, and
24
     the search concluded at 8:00 p.m.
25
           The following day, February 27, 2009, MIA and CBP officers contacted
26
27   Andujar-Aponte and requested that he and his crew be present at the vessel for

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     another inspection. Andujar-Aponte stated that he would not return to the vessel.
 4
     (Docket No. 3-2, at 2, ¶ 7.) The government contends that none of the four
 5
 6   defendants ever returned to the vessel and neither the complaint affidavit, the

 7   warrant affidavit, nor defendant’s brief states otherwise. (Docket No. 86, at 4.)
 8
     MIA officers transported the vessel to Marina Puerto del Rey Marina and placed it
 9
     in dry dock. The agents received further information corroborating their initial
10
11   SOI that narcotics were aboard the vessel, but concluded the investigation on that

12   day without finding any contraband.
13
           Another more invasive search took place on February 28, 2009. According
14
     to the defendant, customs agents “destroyed the ceilings, the bathrooms, the
15
16   doors, drilled holes in the fuel tank, drilled holes in other tanks, cut holes in the

17   walls, broke the beds, broke the seats, removed the doors, many systems made
18
     unusable [sic], etc.” (Docket No. 52, at 2.) The search was unavailing. No
19
     search took place on Sunday, March 1, 2009, and the agents were nearing
20
21   conclusion of their search on March 2 when they received further information

22   indicating that narcotics were aboard the vessel.         Based on the facts and
23   information obtained to that point, CCSF Agents applied for a search warrant to
24
     perform a more invasive search of the vessel. (Docket No. 52-2.) The warrant
25
     was signed on March 3, 2009.        On March 4, CCSF agents and CBP officers
26
27   resumed the search and found a total of two hundred eighty-eight kilograms of

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     cocaine packed behind shower stall fixtures in the two bathrooms within the
 4
     vessel. (Docket No. 3-2, at 2, ¶ 10; Docket No. 86, at 5-6; Docket No. 86-4.)
 5
 6         On March 5, 2009, CCSF agents obtained a criminal complaint against and

 7   warrants for the arrest of the defendants. At approximately 6:00 p.m. that day,
 8
     defendant Franki-Irizarry self-surrendered to federal agents in Joyuda, Puerto
 9
     Rico. (Docket No. 86, at 6.) He was immediately transferred to the CBP facility
10
11   in Aguadilla, Puerto Rico, where he was informed of his rights and signed a form

12   waiving those rights. He stated that he was responsible for cleaning the Black Sea
13
     and had never been outside of Puerto Rico aboard the vessel. The government
14
     contends, however, that according to CCSF agent investigation, the Black Sea
15
16   arrived in La Romana, Dominican Republic, on February 14, 2009, and that

17   Franki-Irizarry had been on board the vessel at that time. (Docket No. 86, at 6.)
18
     According to the government, he was also on board the vessel when it departed
19
     from the Dominican Republic. The government states that a GPS device aboard
20
21   the Black Sea demonstrates that a trip to the Dominican Republic in February

22   2009 had been planned for the vessel.       (Docket No. 86, at 7.) According to
23   information evidently available on the device, the vessel was headed to that
24
     country, but the device was turned off on February 14, 2009. In any event, Mr.
25
     Franki-Irrizary was arrested on March 5, 2009 and appeared before a magistrate
26
27   judge on the afternoon of March 6, 2009.

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           A federal grand jury returned a seven-count indictment against the four
 4
     defendants on March 11, 2009. (Docket No. 17.) Defendants are charged with
 5
 6   knowingly and intentionally possessing with intent to distribute five kilograms or

 7   more of a substance containing cocaine, a Schedule II Narcotic Drug Controlled
 8
     Substance. 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii), 846; 18 U.S.C. § 2. They
 9
     are also charged with conspiring to import and importing the same into the United
10
11   States. 21 U.S.C. §§ 952(a), 960(a)(1), 960(b)(1)(B), 963; 18 U.S.C. § 2.

12   Finally, they are charged with possession of a controlled substance on board a
13
     vessel subject to the jurisdiction of the United States and with conspiring to do so.
14
     46 U.S.C. §§ 70502(c)(1)(D), 70503(a)(1), 70504(b)(1), 70506(b); 18 U.S.C. §
15
16   2. The government seeks forfeiture of assets upon conviction. 21 U.S.C. §§ 853,

17   881; 46 U.S.C. § 70507.
18
           Defendant Franki-Irizarry seeks dismissal of the importation charges against
19
     him under 21 U.S.C. § 952(a); suppression of evidence obtained through a
20
21   warrantless search; suppression of evidence gathered through a warrant that was

22   obtained in violation of the Fourth Amendment, United States Constitution; a
23   hearing regarding the same under Franks v. Delaware, 438 U.S. 154 (1978);
24
     suppression of statements by defendant allegedly obtained in violation of the
25
     Fourth and Fifth Amendments, United States Constitution; a finding that the
26
27   government violated Rule 5 of the Federal Rules of Criminal Procedure by

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     unnecessarily delaying his appearance before a magistrate judge; and, a finding
 4
     that he does not qualify as an expert witness regarding the painting or repair of
 5
 6   boats pursuant to Rule 702 of the Federal Rules of Evidence.

 7   II.   DISCUSSION
 8
           A.    Standing Under the Fourth Amendment
 9
           The Fourth Amendment of the United States Constitution provides that:
10
11               The right of the people to be secure in their persons,
                 houses, papers, and effects, against unreasonable
12               searches and seizures, shall not be violated, and no
13               Warrants shall issue, but upon probable cause, supported
                 by Oath or affirmation, and particularly describing the
14               place to be searched, and the persons or things to be
                 seized.
15
16   U.S. Const. amend. IV.       “It is ‘well settled that a defendant who fails to

17   demonstrate a legitimate expectation of privacy in the area searched or the item
18
     seized will not have ‘standing’ to claim that an illegal search or seizure occurred.’”
19
     United States v. Vilches-Navarrete, 523 F.3d 1, 13 (1st Cir.), cert. denied, 129 S.
20
21   Ct. 208 (2008) (citing United States v. Mancini, 8 F.3d 104, 107 (1st Cir. 1993)).

22   In order to make such a demonstration, a defendant bears the burden of showing
23   that “he had both a subjective expectation of privacy and that society accepts that
24
     expectation as objectively reasonable.” United States v. Vilches-Navarrete, 523
25
     F.3d at 13 (citing California v. Greenwood, 486 U.S. 35, 39 (1988)); cf. United
26
27
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     States v. Scott, 975 F.2d 927, 928 (1st Cir. 1992); see United States v. Sánchez,
 4
     943 F.2d 110, 113 (1st Cir. 1991).
 5
 6         Generally speaking, “a crew member cannot have an expectation of privacy

 7   in a space that the Coast Guard is free to inspect in the course of a document and
 8
     safety check.” United States v. Cardona-Sandoval, 6 F.3d 15, 22 (1st Cir. 1993).
 9
     However, “cases involving substantial vessels, such as cargo ships and freighters,
10
11   must be distinguished from . . . small pleasure craft used for fishing.” Id. (finding

12   that a four person crew “possessed a reasonable expectation of privacy in all
13
     areas of the vessel,” a forty-three foot fishing boat). This is because “[i]n such
14
     a [small] vessel there are no ‘common areas’ in the same sense that the cargo
15
16   hold or dining room on a large boat are public or common. The fact that several

17   individuals may share the limited space no more makes the space public than
18
     would the fact that a family may share a house or a hotel room.” Id.
19
           Much like the boat in Cardona-Sandoval, the Black Sea was a pleasure craft,
20
21   evidently equipped for fishing, with four individuals on board. It was only eleven

22   feet longer than the vessel in Cardona-Sandoval.          In light of these striking
23   similarities, Cardona-Sandoval is controlling. As a crew member of a smaller
24
     pleasure craft, Franki-Irizarry had an expectation of privacy aboard the Black Sea,
25
     and therefore had standing to raise a challenge under his Fourth Amendment
26
27   rights for as long as he remained with the boat.

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           Franki-Irizarry did not, however, retain that standing throughout the multi-
 4
     day search of the boat. “[T]he act of abandonment extinguishe[s] [a defendant’s]
 5
 6   Fourth Amendment claim.” United States v. Sealey, 30 F.3d 7, 10 (1st Cir. 1994)

 7   (no expectation of privacy in firearm, magazine and ammunition that defendant
 8
     discarded as he fled police); see Abel v. United States, 362 U.S. 217, 241 (1960).
 9
     “[W]hen an individual abandons property, he forfeits any reasonable expectation
10
11   of privacy in it, and consequently police may search it without a warrant.” United

12   States v. Sealey, 30 F.3d at 10 (citing United States v. Lewis, 921 F.2d 1294,
13
     1302 (D.C. Cir. 1990)). Put another way, “[i]t is well established that one who
14
     abandons or disclaims ownership of an item forfeits any claim of privacy in its
15
16   contents, and that as to that person the police may search the item without a

17   warrant.” United States v. de Los Santos Ferrer, 999 F.2d 7, 9 (1st Cir. 1993)
18
     (disclaimer of ownership of a suitcase at an airport constituted abandonment and
19
     forfeiture of claim of privacy in its contents); see also United States v. Scott, 975
20
21   F.2d at 929 (“[A] person who places trash at a curb to be disposed of or destroyed

22   by a third person abandons it because ‘implicit in the concept of abandonment is
23   a renunciation of any reasonable expectation of privacy in the property
24
     abandoned.’”) (quoting United States v. Mustone, 469 F.2d 970, 972 (1st Cir.
25
     1972) (footnote omitted)); cf. United States v. Moss, 887 F.2d 333, 334 (1st Cir.
26
27   1989) (giving consideration to narcotics found on a boat for purposes of pretrial

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     sentencing, where narcotics were found after defendant had abandoned ship and
 4
     attempted to swim ashore).
 5
 6         Here, it is uncontested that Franki-Irizarry did not return to the boat after

 7   the initial search of the vessel on February 25, 2009. We “consider ownership,
 8
     possession, control, ability to exclude from the premises, or a legitimate presence
 9
     on the premises when determining the existence of a legitimate expectation of
10
11   privacy.” United States v. Cardona-Sandoval, 6 F.3d at 21 (citing United States

12   v. Melucci, 888 F.2d 200, 202 (1st Cir. 1989); United States v. Aguirre, 839 F.2d
13
     854, 856 (1st Cir. 1988)). As the crew member hired to clean the vessel, the
14
     defendant has demonstrated no ownership or ability to control the Black Sea.
15
16   Further, by voluntarily leaving the vessel behind, Franki-Irizarry ceded any

17   possession, ability to exclude from the premises, or legitimate presence on the
18
     premises he might otherwise have had.         Defendant cites Chapman v. United
19
     States, 365 U.S. 610 (1961) to support the argument that his presence was not
20
21   necessary to retain a possessory interest in the vessel, and that he therefore

22   maintained a privacy interest in it even after leaving it. (Docket No. 52, at 19.)
23   Chapman is inapposite, however, as it involved a tenant’s possessory interest in
24
     his own apartment dwelling, something far more sacred than the interest of a low
25
     level crew member in a sea vessel owned by another. Chapman v. United States,
26
27   365 U.S. at 615 (“The right of officers to thrust themselves into a home is also a

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     grave concern, not only to the individual but to a society which chooses to dwell
 4
     in reasonable security and freedom from surveillance.”). While Chapman held that
 5
 6   “one’s house cannot lawfully be searched without a search warrant, except as an

 7   incident to a lawful arrest therein,” Chapman v. United States, 365 U.S. at 613
 8
     (quoting Agnello v. United States, 269 U.S. 20, 32 (1925)), there is no such
 9
     precept with respect to sea vessels. See United States v. Victoria-Peguero, 920
10
11   F.2d 77, 80 (1st Cir. 1990) (approving of warrantless search aboard a sea vessel).

12   Thus, defendant’s situation is better analogized to United States v. Sealey, 30
13
     F.3d 7 (1st Cir. 1994); United States v. de Los Santos Ferrer, 999 F.2d 7 (1st Cir.
14
     1993); and United States v. Scott, 975 F.2d 927 (1st Cir. 1992). Defendant
15
16   abandoned the Black Sea and therefore lacked any privacy interest in it from that

17   point forward. Accordingly, he has no standing as to any Fourth Amendment
18
     claims arising subsequent to the initial search of the boat in the early morning
19
     hours of February 25, 2009.
20
21         B.    Warrantless Search

22         Defendant contends United States Customs had no authority to inspect the
23   Black Sea without a warrant. He argues that the CBP had no right to search the
24
     vessel under the “border search” exception to the Fourth Amendment.
25
     Defendant’s argument merits consideration only until the time he abandoned the
26
27   vessel. “The border search exception provides that routine searches of persons

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     and effects at borders are permitted without the requirement of probable cause.”
 4
     United States v. Momoh, 427 F.3d 137, 143 (1st Cir. 2005) (citing United States
 5
 6   v. Ramsey, 431 U.S. 606, 619 (1977)). “Since the founding of our Republic,

 7   Congress has granted the Executive plenary authority to conduct routine searches
 8
     and seizures at the border, without probable cause or a warrant, in order to
 9
     regulate the collection of duties and to prevent the introduction of contraband into
10
11   this country.” United States v. Montoya de Hernández, 473 U.S. 531, 537 (1985)

12   (citing United States v. Ramsey, 431 U.S. at 616-17 (citing Act of July 31, 1789,
13
     ch. 5, 1 Stat. 29)). Statutory authority for the border search exception comes
14
     from Section 1581 of United States Code Title 19:
15
16               Any officer of the customs may at any time go on board
                 of any vessel or vehicle at any place in the United States
17               or within the customs waters . . . and examine, inspect,
                 and search the vessel or vehicle and every part thereof
18
                 and any person, trunk, package, or cargo on board, and
19               to this end may hail and stop such vessel or vehicle, and
                 use all necessary force to compel compliance.
20
21   19 U.S.C. § 1581(a); United States v. Zurosky, 614 F.2d 779, 787 n.7 (1st Cir.

22   1979); United States v. Victoria-Peguero, 920 F.2d at 80.
23         Under the exception, officials may conduct an extended, warrantless border
24
     search if “officials have reasonable certainty or a high degree of probability that
25
     a border was crossed,” United States v. Pérez-Rivera, 247 F. Supp. 2d 108, 115
26
27
28
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     (D.P.R. 2003), and if the search satisfies “the constitutional requirement of
 4
     reasonableness.” United States v. Victoria-Peguero, 920 F.2d at 80.
 5
 6         The first issue is whether the agents in this case had “reasonable certainty”

 7   or “a high degree of probability” that a border was crossed. “The sea boundary
 8
     of the United States territory is a marine league (three geographic miles) from
 9
     shore, Cunard S.S. Co. v. Mellon, 262 U.S. 100, 122 (1923), and comprises a
10
11   border for fourth amendment purposes.” United States v. Victoria-Peguero, 920

12   F.2d at 80 (citing United States v. Zurosky, 614 F.2d at 787 n.7) (“The three mile
13
     limit [off the U.S. coast] establishes the boundary of the territorial sea and is
14
     regarded as the border.”)). Here, the CBP and MIA initially spotted the Black Sea
15
16   “outside U.S. territorial waters,” that is, over twenty-four miles beyond the shore.

17   (Docket No. 52-2, at 4, ¶ 7.) At least one of the crew members told CBP officers
18
     that the men had been “fishing approximately twenty five (25) miles offshore.”
19
     (Docket Nos. 3-2, at 1, ¶ 7; 52-2, at 4, ¶ 7; 86, at 2, ¶ 4.) Defendant does not
20
21   deny in his brief that the vessel was over three miles beyond the coast. Finally,

22   CCSF intelligence indicated that the Black Sea “was going to be utilized to smuggle
23   narcotics into Puerto Rico.” (Docket No. 52-2, at 3, ¶ 4.) The weight of this
24
     evidence was sufficient to establish a “high degree or probability” and even
25
     “reasonable certainty” that the Black Sea had crossed a border.
26
27
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           The CBP agents also operated under reasonable suspicion of criminal
 4
     activity. United States v. Montoya de Hernández, 473 U.S. at 537 (citing New
 5
 6   Jersey v. T.L.O., 469 U.S. 325, 337-42 (1985) (“What is reasonable depends upon

 7   all of the circumstances surrounding the search or seizure and the nature of the
 8
     search or seizure itself.”)). While reasonable suspicion may develop prior to
 9
     government agents’ boarding a vessel, suspicion may also “be formed on the basis
10
11   of facts obtained during the safety and document inspection. . . .” United States

12   v. Cardona-Sandoval, 6 F.3d at 23. The evidence demonstrates that the CBP
13
     agents operated pursuant to a reliable source of information that indicated the
14
     Black Sea was being used to traffic narcotics. The agents observed that Black Sea
15
16   was traveling at high speeds, in rough seas, at night. After boarding the vessel,

17   crew members delivered discrepant accounts of the boat’s port of origin. (Docket
18
     No. 52-2, at 4, ¶ 7.) During the inspection, a K-9 gave a positive indication of the
19
     presence of cocaine.     Accordingly, the agents had reasonable suspicion that
20
21   criminal activity was taking place. See United States v. Montoya de Hernández,

22   473 U.S. at 542 (quoting New Jersey v. T.L.O., 469 U.S. at 346) (sixteen hour
23   extended border search was warranted where customs inspectors “had
24
     encountered many alimentary canal smugglers” and where “inspectors’ suspicion”
25
     that defendant was such a smuggler was nothing more than a “‘common-sense
26
27
28
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     conclusio[n] about human behavior’ upon which ‘practical people,’ –including
 4
     government officials, are entitled to rely.”).
 5
 6         Not only was the border search itself appropriate, but its location in the

 7   marina at Palmas del Mar was also justified. “Because it is not practical to set up
 8
     checkpoints at the outer perimeter of a country’s territorial waters, courts have
 9
     consistently recognized the constitutionality of warrantless searches at the
10
11   functional equivalent of the sea border. . . . ” United States v. Victoria-Peguero,

12   920 F.2d at 80 (police boarding and search of vessel approximately 1.5 miles off
13
     the coast was appropriate) (citing United States v. Tilton, 534 F.2d 1363, 1365-66
14
     (9th Cir. 1976) (“harbor as functional equivalent of border.”)).         “The border
15
16   search exception is not limited to searches that occur at the border itself but

17   includes searches that take place at the ‘functional equivalent’ of a border. . . .”
18
     United States v. Momoh, 427 F.3d at 143. The functional equivalent of a border
19
     includes a marina. United States v. Thomas, 257 F. Supp. 2d 494, 497 (D.P.R.
20
21   2003) (“That the search occurred in the pier 10 area does not render it

22   unreasonable, for it serves as the functional equivalent of the border.”). Here, it
23   would not have been practicable for customs to set up a check point exactly at the
24
     three miles’ distance from the coast, especially at night under rough seas. A
25
     search in the protected Palmas del Mar marina was far more reasonable. Thus,
26
27
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 3
     under United States v. Thomas, the border search in that marina was appropriate
 4
     under the Fourth Amendment.
 5
 6         C.    Search Warrant

 7         Defendant next contends that the search warrant was invalid because a
 8
     variety of statements within the warrant affidavit are allegedly unsupported or
 9
     false. (Docket Nos. 52, at 21, 52-2). Defendant therefore requests a hearing
10
11   pursuant to Franks v. Delaware, 438 U.S. 154 (1978). (Docket No. 52, at 22-23.)

12   “A defendant is entitled to an evidentiary hearing under Franks v. Delaware where
13
     the defendant ‘makes a substantial preliminary showing’ that both (1) ‘a false
14
     statement knowingly and intentionally, or with reckless disregard for the truth,
15
16   was included by the affiant in the warrant affidavit’ and (2) ‘the allegedly false

17   statement is necessary to the finding of probable cause.’” United States v. Reiner,
18
     500 F.3d 10, 14 (1st Cir. 2007), cert. denied, 128 S. Ct. 1737 (2008) (quoting
19
     Franks v. Delaware, 438 U.S. at 155-56). Both elements are essential to establish
20
21   the necessity of a Franks hearing.

22         Here, there is no need for such a hearing, as defendant cannot establish the
23   second element. There were at least two sound bases for finding probable cause
24
     to justify the search warrant, and defendant does not challenge the veracity or
25
     reliability of either. First, the K-9 Hugo gave a positive indication of the presence
26
27   of narcotics aboard the vessel.      According to the Department of Homeland

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     Security, the K-9 was “reliable in the detection of [cocaine] . . . . ” (Docket No.
 4
     86-3.) A “positive alert from a canine sniff may be used as probable cause to
 5
 6   obtain a warrant . . . . ” United States v. Carreras, 851 F. Supp. 502, 505 (D.P.R.

 7   1994) (citing United States v. Sokolow, 490 U.S. 1 (1989)) (“probable Cause [sic]
 8
     to arrest individuals suspected of transporting illegal drugs in an airport may be
 9
     proven with ‘evidence of a strong alert by a narcotics dog [to the odor of drugs
10
11   in a specific container], evidence that the dog was reliable and evidence linking

12   the container to the individual arrested.’”) (quoting United States v. Colón, 845
13
     F. Supp. 923, 928 (D.P.R. 1994)). As such, the evidence from the K-9 alone was
14
     sufficient to justify the search warrant and no other statement in the affidavit was
15
16   necessary to the finding of probable cause. Defendant fails to contest the

17   reliability or veracity of the dog’s alert, and therefore fails to identify a false
18
     statement within the affidavit necessary to the finding of probable cause.
19
           A second legitimate basis for issuance of the warrant was the affidavit’s
20
21   reference to the ten brand new black duffle bags, several packages of Ziploc brand

22   bags, one package of vacuum sealer bags, and several plastic bottles of odor
23   wipes. (Docket No. 52-2, at 4, ¶ 8.) “[T]he presence on the same premises of
24
     an unusually large number of zip lock plastic bags . . . combined with [an agent’s]
25
     extensive experience as a law enforcement officer [may] plainly buttress[ ] the
26
27   informant-based indicia of probable cause.” United States v. Taylor, 985 F.2d 3,

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     6 (1st Cir. 1993). Here, the presence of several packages of Ziploc brand bags,
 4
     vacuum sealer bags, and several bottles of odor wipes is certainly unusual and
 5
 6   appears inconsistent with defendants’ ostensible reason for the sea voyage: a

 7   fishing excursion.   The items are “consistent with recent seizures made on
 8
     pleasure vessels used to smuggle narcotics,” according to the warrant affidavit by
 9
     ICE Special Agent Gregory.      (Docket No. 52-2, at 4-5, ¶ 8.)         Special Agent
10
11   Gregory has been a Special Agent with ICE for seven years, and “the issuing

12   magistrate properly may credit the experience and pertinent expertise of a law
13
     enforcement affiant in evaluating the authenticity of the informant’s description
14
     of the target’s modus operandi.” United States v. Taylor, 985 F.2d at 6 (finding
15
16   warrant affidavit sufficiently supported probable cause to search defendant’s

17   premises). Much like the affidavit’s averments as to the K-9, the allegation that
18
     various bags and deodorizing items were aboard the Black Sea was sufficient in
19
     itself to provide probable cause for a search warrant. Defendant does not contest
20
21   the veracity or reliability of that allegation, and he is therefore not entitled to a

22   Franks v. Delaware hearing.
23         D.    Importation Charge
24
           Franki-Irizarry also argues that the narcotics importation charge against him
25
     should be dismissed because the Black Sea did not come from a location outside
26
27   the United States. Section 952(a) of Title 21 of the United States Code, entitled

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     “importation of controlled substances,” provides that “[i]t shall be unlawful to
 4
     import into . . . the United States from any place outside thereof, any controlled
 5
 6   substance . . . . ” 21 U.S.C. § 952(a). Defendant points out that “the importation

 7   statute does not apply to the shipment . . . from one part of the United States and
 8
     its customs territory . . . to another.” United States v. Ramírez-Ferrer, 82 F.3d
 9
     1131, 1144 (1st Cir. 1996) (“a defendant can defeat an importation charge by
10
11   demonstrating affirmatively by competent evidence that the drugs came into the

12   United States directly from another place that is also within the United States.”).
13
     He argues that the Black Sea’s course was from La Parguera, Puerto Rico to
14
     Palmas del Mar, Puerto Rico, and that the importation statute is therefore
15
16   inapplicable. (Docket No. 52, at 17.) There is, however, a factual question as to

17   the veracity of that claim. While one Black Sea crew member told federal agents
18
     that the vessel’s trip had originated in La Parguera, another stated that it
19
     originated in Ponce, Puerto Rico, and the vessel’s captain allegedly stated at one
20
21   point that it originated in Cabo Rojo, Puerto Rico. The government, meanwhile,

22   contends that the vessel in fact came from the Dominican Republic. (Docket No.
23   86, at 7.) In light of such an uncertain factual scenario, it cannot be said that
24
     defendant has demonstrated affirmatively by competent evidence that the drugs
25
     came into the United States from another place that is within the United States.
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     Accordingly, he has not established that the importation charge against him
 4
     should be dismissed at this time.
 5
 6         E.    Suppression of Statements

 7         Franki-Irizarry next argues that the statements he made to customs agents
 8
     on February 25, 2009 should be suppressed under Miranda v. Arizona, because
 9
     he was detained and unable to leave the area of the sea vessel. (Docket No. 52,
10
11   at 27.)

12               [A] person questioned by law enforcement officers after
13               being “taken into custody or otherwise deprived of his
                 freedom of action in any significant way” must first “be
14               warned that he has a right to remain silent, that any
                 statement he does make may be used as evidence
15               against him, and that he has a right to the presence of an
16               attorney, either retained or appointed.” Statements
                 elicited in noncompliance with this rule may not be
17               admitted for certain purposes in a criminal trial. An
                 officer's obligation to administer Miranda warnings
18
                 attaches, however, “only where there has been such a
19               restriction on a person's freedom as to render him ‘in
                 custody.’” In determining whether an individual was in
20               custody, a court must examine all of the circumstances
21               surrounding the interrogation, but “the ultimate inquiry
                 is simply whether there [was] a ‘formal arrest or restraint
22               on freedom of movement’ of the degree associated with
                 a formal arrest.”
23
24   Stansbury v. California, 511 U.S. 318, 322 (1994) (citations omitted). “It is well

25   recognized that a routine inspection and boarding of an American flagship vessel
26
     . . . does not give rise to a custodial detention.”       United States v. Vilches-
27
     Navarrete, 523 F.3d at 15 (quoting United States v. Elkins, 774 F.2d 530, 535 n.3
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 3
     (1st Cir. 1985)). This is true even where defendants are “confined to one section
 4
     of the boat during [a] lengthy Coast Guard inspection. . . . ” United States v.
 5
 6   Elkins, 774 F.2d at 535 n.3; Unites States v. Nai Fook Li, 206 F.3d at 83 (Coast

 7   Guard’s boarding and inspection of ship with the crew’s consent was not custodial
 8
     in nature, even where crew was relegated to one section of ship) (citing United
 9
     States v. Rioseco, 845 F.2d 299, 303 (11th Cir. 1988).
10
11         Here, the CBP agents boarded the Black Sea and performed a routine

12   inspection. Defendant claims that he and his co-defendants were not free to leave
13
     the vessel, but the same was true of the defendants in United States v. Nai Fook
14
     Li and United States v. Rioseco when they were relegated to a certain section of
15
16   the ship.   The agents never placed any crew members under arrest, and

17   defendant was free to go within hours of the vessel’s being boarded. Accordingly,
18
     Franki-Irizarry was not in custody for purposes of Miranda, and his statements
19
     to CBP agents need not be suppressed.
20
21         F.    Delay Prior to Appearance Before a Magistrate

22         Defendant argues that he was subject to unnecessary delay after his arrest
23   awaiting an appearance before a magistrate judge. (Docket No. 52, at 27.) He
24
     argues that Rule 5 of the Federal Rules of Criminal Procedure was violated
25
     because he was arrested on March 5, 2009 and did not face a magistrate judge
26
27   until March 6. Rule 5 provides that “[a] person making an arrest within the United

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     States must take the defendant without unnecessary delay before a magistrate
 4
     judge . . . . ” Fed. R. Crim. P. 5(a)(1)(A). The First Circuit has held, however,
 5
 6   that “[t]he one day between the time [defendant] was arrested and when he was

 7   brought before the magistrate judge was reasonable, and the district court
 8
     properly denied his motion to dismiss.” United States v. Vilches-Navarrete, 523
 9
     F.3d at 15. As only one day transpired in this case as well, Vilches-Navarrete
10
11   controls and defendant was therefore not subjected to unreasonable delay under

12   Rule 5.
13
           G.    Expert Testimony
14
           Lastly, defendant argues that he does not qualify as an expert with regard
15
16   to the statement he gave to agents regarding the painting of sea vessels on

17   March 5, 2009, and he contends that the statement should be suppressed.
18
     (Docket Nos. 52, at 30; 52-3.) Defendant’s argument, however, is premature.
19
     As the seminal case on expert witnesses, Daubert v. Merrell Dow Pharms., Inc.,
20
21   509 U.S. 579 (1993), held, “the Federal Rules of Evidence, . . . –especially Rule

22   702– do assign the trial judge the task of ensuring that an expert’s testimony both
23   rests on a reliable foundation and is relevant to the task at hand.” Daubert v.
24
     Merrel Dow Pharms., Inc., 509 U.S. at 597 (emphasis added). It is thus for the
25
     trial judge to determine the suitability of testimony that allegedly involves witness
26
27   expertise. It would be anomalous for the government to seek to qualify the

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     defendant as an expert in paint. In any event, the statement is his. See Fed. R.
 4
     Evid. 801(d)(2)(A).
 5
 6   III.   CONCLUSION

 7          For the reasons set forth, I recommend that defendant Franki-Irizarry’s
 8
     motion to dismiss and/or suppress evidence be DENIED.
 9
            Under the provisions of Rule 72(d), Local Rules, District of Puerto Rico, any
10
11   party who objects to this report and recommendation must file a written objection

12   thereto with the Clerk of this Court within ten (10) days of the party's receipt of
13
     this report and recommendation. The written objections must specifically identify
14
     the portion of the recommendation, or report to which objection is made and the
15
16   basis for such objections.    Failure to comply with this rule precludes further

17   appellate review.     See Thomas v. Arn, 474 U.S. 140, 155 (1985); Davet v.
18
     Maccorone, 973 F.2d 22, 30-31 (1st Cir. 1992); Paterson-Leitch Co. v. Mass. Mun.
19
     Wholesale Elec. Co., 840 F.2d 985 (1st Cir. 1988); Borden v. Sec’y of Health &
20
21   Human Servs., 836 F.2d 4, 6 (1st Cir. 1987); Scott v. Schweiker, 702 F.2d 13, 14

22   (1st Cir. 1983); United States v. Vega, 678 F.2d 376, 378-79 (1st Cir. 1982);
23   Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603 (1st Cir. 1980).
24
            At San Juan, Puerto Rico, this 21st day of August, 2009.
25
26
                                                             S/ JUSTO ARENAS
27                                                 Chief United States Magistrate Judge

28
